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                            U.S. District Court for the Northern District of Texas
                                  Instructions to a Prisoner Pro Se Plaintiff

Your suit OLSON V. USA was filed on 1/25/2019 and has been assigned to the Honorable David C. Godbey,
case number 3:19−cv−00200−N−BN.

These instructions do not include everything you need to know to pursue your case, but following them may help
you avoid common mistakes that can result in delay or other consequences−including dismissal of your case.

     1. Filing Procedures − The Local Civil Rules include the following requirements:

             ♦ You must submit a judge's copy (a paper copy) of any document you file. If you want a
               file−stamped copy returned to you, submit the original, the judge's copy, and an extra copy to be
               returned to you, and provide a self−addressed, postage−paid envelope. The clerk cannot make an
               extra copy for you unless you first pay a fee of 50 cents per page.

             ♦ You must type or legibly handwrite your documents on one side of numbered pages. Any exhibit
               or discovery material attached to the filing must be referred to in the filing. Any exhibit or
               discovery material not referred to in your filing or not attached to your filing may be returned to
               you.

     2. Address Change − You must notify the Court if your address changes, or your case may be dismissed.
        Promptly file a written change of address notice in your case.

     3. Rules to Follow − You must read and follow the Court's Local Civil Rules and the Federal Rules of Civil
        Procedure. Because the presiding judge is authorized to change how certain rules apply, you must read
        and follow the judge's orders in your case.

     4. Request for Attorney − In a civil case, you generally are not entitled to a court−appointed attorney to
        represent you without cost to you. If you request a court−appointed attorney, a judge will decide whether
        to appoint an attorney depending on the circumstances of the case. Even if the court decides to appoint an
        attorney, the attorney cannot be forced to accept the appointment. You may call the Lawyer Referral
        Service of the State Bar of Texas at (800) 252−9690 for assistance in securing the services of a private
        attorney to represent you for a fee.

     5. Initial Case Review − If the Court grants leave to proceed in forma pauperis, service of process will be
        withheld pending review of your complaint, and your complaint may be dismissed pursuant to 28 U.S.C.
        § 1915(e)(2).

     6. Copies to Defendant − After a defendant has been served your complaint, you must serve a copy of any
        other document you file upon the defendant's attorney (or upon the defendant, if the defendant is pro se).
        You must serve the opposing side by mail or another manner authorized by Fed. R. Civ. P. 5 (b)(2). All
        documents must contain a Certificate of Service reflecting that you served the opposing side. This is an
        example of language you may use:

             ♦ I hereby certify that on (Date) , I forwarded a copy of the foregoing document to
               ___________________, the attorney for (Defendant) at the address of
               ____________________________.
                                                                           /Signature/

     7. Discovery Materials − Do not file discovery materials with the clerk. If you file a motion to compel
        discovery, you may attach only the portions of discovery that are relevant to your motion.

     8. Questions About Your Case − Do not write letters to the judge asking questions about your case − all
        communication with the judge should be through filings. Do not write letters to the clerk asking for
        instructions on how to handle your case, since the clerk is prohibited from giving legal advice.
